        Case 1:25-cv-00677-DLF          Document 10        Filed 03/12/25     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CENTRO DE TRABAJADORES
 UNIDOS, et al.,

            Plaintiffs,

              v.                                  Civil Action No. 25-677 (DLF)

 SCOTT BESSENT, in his official
 capacity as Secretary of the Treasury, et
 al.,

            Defendants.



                                   JOINT STATUS REPORT

        The parties submit this status report in response to the Court’s minute order of March 11,

2025.

        The parties, through counsel, have conferred regarding emergency relief to assure that

taxpayer information would be protected from disclosure while this case is litigated. Counsel for

Defendants is continuing to confer with Defendants as to the issues raised in the complaint.

Counsel for Plaintiffs and Defendants are discussing the filing of a proposed stipulated order that

would avoid the need for Plaintiffs to seek a temporary restraining order. In the event the parties

are unable to negotiate and file the proposed stipulated order with this Court by March 13, 2025,

Plaintiffs intend to file a motion for a temporary restraining order no later than March 14, 2025.

        Defendant is not waiving any defenses under Fed. R. Civ. P. 12 by agreeing to this briefing

schedule.
      Case 1:25-cv-00677-DLF       Document 10        Filed 03/12/25     Page 2 of 2




Dated: March 12, 2025
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